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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


GILBERT MITCHELL                                       CIVIL ACTION NO. 2:21-cv-00056

            Plaintiff                                          SECTION T:
                                                     DISTRICT JUDGE GREG G. GUIDRY
VERSUS
                                                                DIVISION 2:
                                                            MAGISTRATE JUDGE
REC MARINE LOGISTICS, LLC,                               DONNA PHILLIPS CURRAULT
GOL, L.L.C., REC BOATS, LLC,
COX OPERATING, L.L.C. AND
DYNAMIC PRODUCTION SERVICES,
INC.

            Defendants

                              COX OPERATING, LLC’S ANSWER TO
                              PLAINTIFF’S ORIGINAL COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes defendant, Cox Operating,

LLC (hereinafter sometimes referred to as “defendant” or “Cox”), and responds to the Original

Complaint filed by plaintiff, Gilbert Mitchell (hereinafter sometimes referred to as “plaintiff’), as

follows:

                                        FIRST DEFENSE

       The Original Complaint fails to state a claim, cause, or right of action against Cox upon

which relief can be granted.

                                      SECOND DEFENSE

       The Original Complaint is barred by the applicable period of prescription and/or statute of

limitations, and/or laches.

                                       THIRD DEFENSE

       AND NOW, without waiving any of the foregoing defenses, Cox responds to the specific
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allegations of plaintiff’s Original Complaint categorically and by paragraph as follows:

                                                   1.

        The allegations contained in Paragraph 1.1 of the Original Complaint are denied for lack

of sufficient information to justify a belief therein.

                                                   2.

        The allegations contained in Paragraph 1.2 of the Original Complaint are denied for lack

of sufficient information to justify a belief therein.

                                                   3.

        The allegations contained in Paragraph 1.3 of the Original Complaint are denied for lack

of sufficient information to justify a belief therein.

                                                   4.

        The allegations contained in Paragraph 1.4 of the Original Complaint are denied for lack

of sufficient information to justify a belief therein.

                                                   5.

        The domiciliary and service allegations contained in Paragraph 1.5 of the Original

Complaint are admitted. Any other allegations contained in Paragraph 1.5 are denied.

                                                   6.

        The allegations contained in Paragraph 1.6 of the Original Complaint are denied for lack

of sufficient information to justify a belief therein.

                                                   7.

        The allegations contained in Paragraph 2.1 of the Original Complaint state conclusions of

law which require no response on the part of Cox. To the extent a response is deemed necessary,

the allegations contained in Paragraph 2.1 are denied for lack of sufficient information to justify a



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belief therein.

                                                   8.

        The allegations contained in Paragraph 3.1 of the Original Complaint state conclusions of

law which require no response on the part of Cox. To the extent a response is deemed necessary,

the allegations contained in Paragraph 3.1 are denied for lack of sufficient information to justify a

belief therein.

                                                   9.

        The allegations contained in Paragraph 3.2 of the Original Complaint state conclusions of

law which require no response on the part of Cox. To the extent a response is deemed necessary,

the allegations contained in Paragraph 3.2 are denied for lack of sufficient information to justify a

belief therein.

                                                  10.

        The allegations contained in Paragraph 4.1 of the Original Complaint are denied for lack

of sufficient information to justify a belief therein.

                                                  11.

        The allegations contained in Paragraph 4.2 of the Original Complaint are denied.

                                                  12.

        The allegations contained in Paragraph 5.1 of the Original Complaint are denied.

                                                  13.

        The allegations contained in Paragraph 5.2 of the Original Complaint do not pertain to Cox

and require no response on its part. To the extent a response is deemed necessary, the allegations

contained in Paragraph 5.2, including all subparts, are denied for lack of sufficient information to

justify a belief therein.



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                                                  14.

       The allegations contained in Paragraph 5.3 of the Original Complaint, including all

subparts, are denied to the extent that they pertain to Cox. To the extent the allegations pertain to

any other party, such are denied for lack of sufficient information to justify a belief therein.

                                                  15.

       The allegations contained in Paragraph 5.4 of the Original Complaint are denied to the

extent that they pertain to Cox. To the extent the allegations pertain to any other party, such are

denied for lack of sufficient information to justify a belief therein.

                                                  16.

       The allegations contained in Paragraph 5.5 of the Original Complaint are denied to the

extent that they pertain to Cox. To the extent the allegations pertain to any other party, such are

denied for lack of sufficient information to justify a belief therein.

                                                  17.

       The allegations contained in Paragraph 5.6 of the Original Complaint are denied to the

extent that they pertain to Cox. To the extent the allegations pertain to any other party, such are

denied for lack of sufficient information to justify a belief therein.

                                                  18.

        The allegations contained in Paragraph 5.7 of the Original Complaint are denied to the

extent that they pertain to Cox. To the extent the allegations pertain to any other party, such are

denied for lack of sufficient information to justify a belief therein.

                                                  19.

       It is denied that any injuries allegedly sustained by plaintiff “were not culminated by any

contributing fault of his own.” To the contrary, Cox avers that any injuries sustained by the



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plaintiff, which injuries are specifically denied, were solely caused by plaintiff’s own negligence

or fault. The remainder of the allegations contained in Paragraph 5.8 of the Original Complaint are

denied to the extent that they pertain to Cox. To the extent the remainder of the allegations pertain

to any other party, such are denied for lack of sufficient information to justify a belief therein.

                                                  20.

       The allegations contained in Paragraph 5.9 of the Original Complaint do not pertain to Cox

and require no response on its part. To the extent a response is deemed necessary, the allegations

are denied for lack of sufficient information to justify a belief therein.

                                                  21.

       The allegations contained in Paragraph 5.10 of the Original Complaint do not pertain to

Cox and require no response on its part. To the extent a response is deemed necessary, the

allegations are denied for lack of sufficient information to justify a belief therein.

                                                  22.

       The allegations contained in Paragraph 5.11 of the Original Complaint do not pertain to

Cox and require no response on its part. To the extent a response is deemed necessary, the

allegations are denied for lack of sufficient information to justify a belief therein.

                                                  23.

       The allegations contained in Paragraph 6.1 of the Original Complaint are denied.

                                                  24.

       The allegations contained in Paragraph 6.2 of the Original Complaint, including all

subparts, are denied.

                                                  25.

       The allegations contained in Paragraph 7.1 of the Original Complaint are denied.



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                                                 26.

       The allegations contained in Paragraph 8.1 of the Original Complaint require no response

on the part of Cox. Cox acknowledges that plaintiff has requested a jury trial, but reserves the right

to contest plaintiff’s entitlement to a jury should the facts and the law warrant.

                                           FOURTH DEFENSE

       Cox denies the allegations of any unnumbered and/or mis-numbered paragraphs, any

allegations contained in the Prayer for Relief, and any allegations contained in the Original

Complaint which have not heretofore been addressed.

                                        FIFTH DEFENSE

       Cox avers that it is in no way responsible for the alleged incident in question; it was not

negligent.

                                        SIXTH DEFENSE

       Plaintiff’s illnesses or injuries, if any, resulted from his own sole fault, and negligence

and/or inattention to duty or from the fault, negligence, and/or inattention of others for whom Cox

is not responsible.

                                      SEVENTH DEFENSE

       In the alternative, Cox pleads the contributory negligence of plaintiff in bar of or in

diminution of any recovery.

                                       EIGHTH DEFENSE

       Further in the alternative, Cox avers that plaintiff’s injuries, if any, resulted from a

condition that was open and obvious to the plaintiff.

                                        NINTH DEFENSE

       Cox further avers that if plaintiff sustained any injuries, which are specifically denied, said



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injuries were caused or brought about by the ordinary normal risks incident to his occupation,

which were voluntarily assumed by the plaintiff and for which Cox is in no way responsible.

                                        TENTH DEFENSE

       If the plaintiff sustained any illness or injury, which is specifically denied, then said illness

or injury was caused by and/or contributed to and/or aggravated by the negligence of plaintiff or

others for whom Cox is in no way responsible.

                                     ELEVENTH DEFENSE

       Without waiving the above and foregoing, and further answering if same be necessary, Cox

avers that plaintiff’s damages arose as the result of a pre-existing and/or subsequently developed

physical and/or mental condition which was neither caused nor aggravated by any act or omission

of Cox, thus barring or mitigating any recovery by plaintiff herein.

                                      TWELFTH DEFENSE

       Further answering the plaintiff’s Original Complaint, and as a separate and distinct defense,

Cox alleges that if plaintiff has sustained any injury or illness, which is specifically denied, such

injury or illness existed before the time of his alleged accident, and that he knew or should have

known he was physically unfit and unable for the duties which he undertook to perform, all of

which were not made known to Cox or to plaintiff’s employer and for which Cox is not responsible.

                                   THIRTEENTH DEFENSE

       Cox would show that if plaintiff was injured, which is specifically denied, such injury was

caused by equipment and/or occurred in an area over which Cox had no control or authority.

                                   FOURTEENTH DEFENSE

       Cox pleads that any negligence for which Cox is allegedly responsible, which is denied,

was in no way connected with the injuries for which plaintiff seeks recovery.



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                                     FIFTEENTH DEFENSE

       Cox alleges that the plaintiff has failed to mitigate any damages he may have sustained,

and his recovery is therefore defeated or mitigated.

                                     SIXTEENTH DEFENSE

       While denying any liability to plaintiff whatsoever, Cox further avers that any injuries

alleged by the plaintiff were caused in whole or in part by the fault, acts, negligence, or omissions

of a third-party or parties over whom Cox exercised no control or supervision and for whom Cox

has no responsibility or liability, such party or parties being solely and/or concurrently at fault or

negligent, and in the event that it is determined that the plaintiff is entitled to recover from Cox,

which is denied, the plaintiff’s recovery should be reduced in proportion to the degree or

percentage of negligence or fault of such third-party or parties.

                                  SEVENTEENTH DEFENSE

       As a time charterer of the vessel in question, Cox is not responsible for any alleged

unseaworthiness of the vessel or for the negligence of the vessel, its owners, or its crew.

                                       EIGHTEENTH DEFENSE

       Cox did not breach any of the duties which it may have owed as a time charterer of the

vessel in question.

                                   NINETEENTH DEFENSE

       Cox avers that any damages allegedly sustained by the plaintiff were the result of

intervening and/or superseding acts and/or causes which were the proximate and/or sole causes of

those alleged damages, and for which Cox, or any other person, party, or entity for which Cox

would be responsible, was not responsible.




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                                     TWENTIETH DEFENSE

          In the further alternative, Cox specifically alleges and avers that any damages allegedly

sustained by the plaintiff were due to a fortuitous event, an act of God, or force majeure or other

circumstances beyond Cox’s control or responsibility and were not proximately caused by any acts

or omissions on the part of Cox or any other person, party or entity for whom it would be

responsible.

                                   TWENTY-FIRST DEFENSE

          As an alleged Jones Act seaman, plaintiff is not entitled to recover non-pecuniary damages,

including punitive damages.

                                  TWENTY-SECOND DEFENSE

          While at all times denying any negligence or fault, Cox avers that any claims for punitive

damages based on the alleged failure to pay maintenance and cure cannot be asserted against Cox,

as Cox was not the employer of plaintiff and therefore owed no obligation to pay maintenance and

cure benefits.

                                   TWENTY-THIRD DEFENSE

          Cox reserves the right to supplement, amend, or modify its affirmative defenses and

answers to conform to such facts as may be revealed in discovery or otherwise.

          WHEREFORE, the premises considered, defendant, Cox Operating, LLC, prays that this

Answer be deemed good and sufficient and, that after due proceedings be had, there be judgment

herein in favor of defendant, Cox Operating, LLC, and against plaintiff, Gilbert Mitchell,

dismissing the plaintiff’s Original Complaint at plaintiff’s cost, and that defendant, Cox Operating,

LLC, be granted such other and further relief as equity and justice of the cause may require and

permit.



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                                     Respectfully submitted:

                                     /s/ Kyle A. Khoury___________
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                                     Kyle A. Khoury, T.A. (#33216)
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